     Case 2:22-cv-02286-WBV-KWR Document 81 Filed 03/27/23 Page 1 of 3




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA


MEGAN DUVAL                                                 CIVIL ACTION

VERSUS                                                      NO. 22-2286

PHYSICIANS MEDICAL CENTER, LLC, ET AL.                      SECTION: “D” (4)

                                      ORDER

      Before the Court is an unopposed Emergency Motion for Revindication (R. Doc.

6), filed by defendants, Surgery Partners, Inc., SP Management Services, Inc., SP

Louisiana, LLC, and Physicians Medical Center, LLC (collectively, the “SP

Defendants”), and the Magistrate Judge’s Report and Recommendation (R. Doc. 73),

filed on March 2, 2023. As set forth in the Report and Recommendation, the parties

had fourteen days, or until March 16, 2023, to file any objection to the Report and

Recommendation. (R. Doc. 73 at pp. 20-21). Neither party filed an objection to the

Report and Recommendation by the March 16, 2023 deadline.

      Also before the Court is a Motion Objecting to Recommendation of Magistrate

Judge, filed by plaintiff, Megan Duval, on March 17, 2023. (R. Doc. 77). In the

Motion, Plaintiff offers no explanation for the late filing, nor does Plaintiff request

leave of court to file her objections after the March 16, 2023 deadline. Nonetheless,

the Court has reviewed Plaintiff’s objections and concludes that they are untimely

and, further, that they lack merit. As such, the Court denies the Motion.

      The Court, having considered the unopposed Emergency Motion, the record,

the applicable law, and the Magistrate Judge’s Report and Recommendation, and the
     Case 2:22-cv-02286-WBV-KWR Document 81 Filed 03/27/23 Page 2 of 3




lack of any timely objections thereto, hereby approves the Magistrate Judge’s

Findings and Recommendations and adopts them as its opinion.

      Accordingly,

      IT IS HEREBY ORDERED that the Motion Objecting to Recommendation of

Magistrate Judge (R. Doc. 77) is DENIED.

      IT IS HEREBY ORDERED that the Emergency Motion for Revindication (R.

Doc. 6) is GRANTED in part, DENIED in part, and DENIED in part as moot.

The Motion is DENIED as moot with respect to the SP Defendants’ request for the

revindication of the devices at issue, and the Motion is DENIED with respect to the

SP Defendants’ request for expedited discovery to assure plaintiff, Megan Duval, no

longer possesses HIPPA-protected material. The Motion, however, is GRANTED as

to the SP Defendants’ request for attorney’s fees and costs.

      IT IS FURTHER ORDERED that the SP Defendants shall have fourteen

(14) days from the date of this Order to file a motion for attorney’s fees and costs,

which shall include the following: (1) an affidavit attesting to the attorneys’

education, background, skills, and experience; (2) sufficient evidence of rates charged

in similar cases by other local attorneys with similar experience, skill, and reputation;

and (3) the documentation required by Local Rule 54.2.

      IT IS FURTHER ORDERED that Plaintiff shall have seven (7) days from

the filing of the motion for attorney’s fees to file any opposition to the motion.

      IT IS FURTHER ORDERED that Plaintiff is not permitted to retrieve her

Microsoft Surface Pro until the conclusion of litigation without leave of Court.
     Case 2:22-cv-02286-WBV-KWR Document 81 Filed 03/27/23 Page 3 of 3




      IT IS FURTHER ORDERED that the SP Defendants shall have fourteen

(14) days from the date of this Order to retrieve from the Magistrate Judge’s

chambers the USB flash drive device containing the files of the “Megan” folder, which

was submitted to the Magistrate Judge for in camera review.

      New Orleans, Louisiana, March 27, 2023.


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                                       WENDY B. VITTER
                                       United States District Judge
